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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, )
)
Plaintiff, )
) ae
YS. ) CRIMINAL No. “AL Wy 10 BAB
)
JOSEPH P. COUNTS ) Title 26
) United States Code,
Defendant ) Section 5861(d)
)
CRIMINAL COMPLAINT

 

I, Matthew Inlow, the undersigned complainant being duly sworn state the following is

true and correct to the best of my knowledge and belief:
COUNT 1
Possession of an Unregistered Firearm
On or about April 26, 2021, in St. Clair County, within the Southern District of Illinois,
JOSEPH P. COUNTS,

defendant herein, did knowingly possess a firearm, that is a Rock River Arms, Model LAR-15M,
300 Black Out Caliber bearing serial number SM200243, with a barrel of less than 16 inches, as
described in Title 26 United States Code, Section 5845(a)(1), and commonly referred to as a
sawed-off rifle or short barrel rifle, which had not been registered to him in the National Firearms
Registration and Transfer Record, in violation of Title 26, United States Code Sections 5841,

5861(d), and 5871.

AFFIDAVIT

Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF) currently assigned to the Fairview Heights, Illinois Field Office and has been
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so employed since September 2001. Your affiant was previous employed as a United States
Secret Service Uniformed Division Police Officer from November of 2000 through September
of 2001. Your affiant is responsible for investigating violations of federal firearms laws,
including Title 18 United States Code Section 922 which pertains to the violations covered by
the Gun Control and Act and Title 26 United States Code which pertains to violations covered
by the National Firearms Act. The statements contained in this affidavit are based on the
investigation of your Affiant, as well as information derived from reports and interviews of the
law enforcement officers and witnesses named herein.
In support of this Complaint, your Affiant states as follows:

1. On April 26, 2021, around 1:30 a.m., Illinois State Police Sgt. Brian Ewing was on patrol
in District 11, within the Southern District of Illinois, and was notified of a vehicle off
the roadway near the west bound entrance to the Martin Luther King (MLK) Bridge in
East St. Louis, Illinois. Sgt. Ewing arrived to that location and located a tan colored Ford
SUV bearing Missouri registration off the roadway appearing to be stuck on stop of a
rocky hill with its rear end elevated in the air. Sgt. Ewing observed the driver, later
identified as Joseph P. COUNTS, open the driver’s door, and exit the vehicle. Sgt. Ewing
made contact with COUNTS and observed COUNTS to be holding a cell phone in his
right hand and noticed a black clip consistent with clips used with firearm holsters near
the waistband of his pants under an untucked shirt. Sgt. Ewing observed COUNTS’ eyes
to be bloodshot and glassy and that COUNTS smelled of alcohol. Sgt. Ewing asked
COUNTS if he possessed a firearm and COUNTS confirmed that he was in possession
of a black colored firearm that was holstered inside the front waistband of his pants. At
this time COUNTS began disobeying commands and would not surrender his person, his

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cell phone, or his firearm.

2. Sgt. Ewing requested assistance to be expedited to his location and other Illinois State
Police Troopers and Officer’s from other Agencies began responding to his location. Sgt.
Ewing was able to talk with COUNTS to obtain his identity, however, Counts would not
obey commands to surrender to Law Enforcement. Sgt. Ewing received information that
COUNTS’ Driver’s License was suspended through the State of Maine. Sgt. Ewing
advised COUNTS that he was going to be taken into custody.

3. Approximately one hour later, law enforcement attempted to help COUNTS with
determining his location on his cell phone to gain control of COUNTS. Sgt. Ewing took
the phone from COUNTS and attempted to gain control of COUNTS by grabbing
COUNTS’ hand. COUNTS pulled away from Sgt. Ewing and when Sgt. Ewing drew his
department issued Taser, COUNTS drew his firearm and pointed it in the direction of
Sgt. Barge. Sgt. Ewing and Sgt. Barge took cover behind their squad cars and COUNTS
continued to disobey commands to discard his firearm and surrender to Law
Enforcement. Law Enforcement continued to negotiate with COUNTS in order to get
him to surrender while more Law Enforcement Officers began to arrive to assist with the
ongoing standoff. During the time frame of the standoff, COUNTS remained armed and
refused to disarm himself while he was communicating with Law Enforcement. During
the interaction, COUNTS confirmed that the firearm was back in the holster in his waist
band as COUNTS had entered and exited his vehicle several times.

4. Nearly 3 hours later, Law Enforcement was able to deploy a Taser and take COUNTS
into custody. At the time of his arrest, COUNTS possessed a Glock, Model 22, .40
Caliber Pistol, bearing Serial Number BRZB303 with a live round in the chamber and a

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magazine loaded with 15 live rounds on his person. COUNTS’ vehicle was inventoried
for tow per Illinois State Police Policy pursuant to the arrest of COUNTS. Illinois State
Police located a Bushmaster, Model XM15-E2S, .223/5.56 Caliber Rifle, Bearing Serial
Number ARG503024 with one live round in the chamber and a magazine containing 28
live rounds, a Rock River Arms, Model LAR-15M, 300 Black Out Caliber Rifle, Bearing
Serial Number SM200243 with a barrel less than 16 inches with one live round in the
chamber and a magazine containing 30 live rounds, all on the center row passenger seat
inside the vehicle. Law Enforcement also recovered a backpack from the vehicle which
contained spent brass casings from several calibers, ear plugs, tools, a compass,
flashlights, fire starter, sheath knife, a Glock, Model 17, 9mm Caliber Pistol, Bearing
Serial Number BGXP775 loaded with one live round in the chamber and a magazine
containing 16 live rounds, a Kimber, Model Aegis Elite Custom, .45 Caliber Pistol,
Bearing Serial Number K738138 and a magazine containing 8 live rounds. The backpack
also contained three Glock .40 caliber magazines each loaded with 15 live rounds, three
Glock 9mm caliber magazines each loaded with 17 live rounds, Two Glock 9mm caliber
magazines each loaded with 6 live rounds, Two Kimpro magazines each loaded with 8
live rounds, One 300 Black Out magazine loaded with 26 live rounds, One 300 Black
Out magazine loaded with 27 live rounds, One 300 Black out magazine loaded with 30
live rounds, Four 5.56 caliber magazines each loaded with 20 live rounds, One box of
Winchester .45 caliber ammunition containing 20 live rounds, and one live 12 gauge
shotgun slug. Inside the center console, Law Enforcement recovered One Glock .40
Caliber Magazine loaded with 15 live rounds and Two Glock 9mm Caliber magazines
each loaded with 16 live rounds: On the center row passenger seat Law Enforcement

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recovered one box of PMC .40 caliber ammunition containing 50 live rounds of
ammunition. All of the above items were seized by the Illinois State Police.

5. After his arrest, COUNTS agreed to participate in an interview. This interview took place
after COUNTS was able to sleep for several hours and no longer appeared under the
influence of alcohol. Sgt. Ewing advised COUNTS of his Miranda Rights and COUNTS
acknowledged his understanding of his Miranda Rights and agreed to speak with Law
Enforcement. COUNTS stated that he had been drinking before his arrest and had been
stuck for approximately an hour before Law Enforcement arrived. COUNTS stated that
he was aware that Sgt. Ewing was a Police Officer and that he had disclosed being armed
with a firearm. COUNTS acknowledged that he had refused to follow commands and
the request by Law Enforcement to secure the firearm stating that he did not feel
comfortable relinquishing the firearm due to the circumstances of a previous arrest in
Maine. COUNTS also described how he received his firearms back after a previous arrest
which had resulted in him spending 100 days in jail. COUNTS acknowledged
unholstering and drawing his firearm on Sgt. Ewing and Sgt. Barge for the purpose of
defending himself, claiming that he felt threatened. COUNTS initially identified one of
the rifles as an “SBR” or short Barreled Rifle. COUNTS went on to describe buying an
“upper” from a gun store and swapping it out with the original 16 inch barrel on the Rock
River, but denied knowing how long the swapped barrel was. COUNTS then tried to
deny that it was an “SBR” or Short Barreled Rifle. COUNTS denied having a tax stamp
for an “SBR” from the Bureau of Alcohol, Tobacco and Firearms, while he referenced
people at the shooting range talking about the $200.00 tax stamp. COUNTS stated the
only firearm that he made significant modifications to was the Rock River Arms by

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changing the barrel and the upper receiver.

6. On April 28, 2021, SS/A Inlow requested a query be conducted through the ATF
National Firearms Act Branch. SS/A Inlow provided the National Firearms Act Branch
with the personal identifiers of COUNTS and with the description of the firearm Rock
River Arms, Model LAR-15M, 300 Black Out Caliber bearing serial number SM200243
to be compared against the National Firearms Registration and Transfer Record and
received negative results both for COUNTS and for the firearm. Thus neither COUNTS
nor the firearm described have ever been registered with the National Firearms
Registration and Transfer Record as required.

FURTHER YOUR AFFIANT SAYETH NAUGHT.

Digitally signed by MATTHEW

MATTHEW INLOW tow

Date: 2021.05.04 14:48:56 -05'00'
MATTHEW R. INLOW
Special Agent
Bureau of Alcohol, Tobacco, Firearms and
Explosives

 

STEVEN D. WEINHOEFT
United States Attorney

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Alexandria Burns
Assistant United States Attorney

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Sworn on the 5 day of May 2021, in East Saint Louis, IHinois, within the

Southern District of Illinois. (WM) Q Beaty

MARK A. BEATTY
United States Magistrate Judge

 
